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 5
                                    UNITED STATES DISTRICT COURT
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                                   EASTERN DISTRICT OF CALIFORNIA
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                                                    )    CASE NO. 1:23-CR-00033-ADA-BAM
 9   UNITED STATES OF AMERICA,                      )
                                                    )    ORDER UNSEALING CASE AS TO NAMED
10                                Plaintiff,        )    DEFENDANTS AND FILING REDACTED
                 v.                                 )    INDICTMENT
11                                                  )
                                                    )
12   JOSE ENRIQUE ORPEZA,                           )
     ROSENDO RENE RAMIREZ,                          )    UNSEALING ORDER
13   DAVID RAMIREZ JR,                              )
                                                    )
14                                Defendants.       )

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16          Upon application of the United States of America and good cause having been shown,

17          IT IS HEREBY ORDERED that the above-mentioned case be unsealed as to the above-named

18 defendants but that the previously filed Indictment remain under seal. IT IS FURTHER ORDERED that

19 the redacted Indictment submitted by the United States be filed on the public docket.

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21 IT IS SO ORDERED.

22 Dated:     April 7, 2023
                                                        UNITED STATES MAGISTRATE JUDGE
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